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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL EMPLOYEES,
 AFL-CIO, et al.,

          Plaintiffs,
          vs.                                      Civil Action No. 1:25-cv-00596

 SOCIAL SECURITY ADMINISTRATION,
 et al.,
         Defendants.




                    DECLARATION OF FLORENCE FELIX-LAWSON

I, Florence Felix-Lawson, hereby declare upon penalty of perjury:

   1. I am the Deputy Commissioner of Human Resources at the Social Security

       Administration (SSA), in Woodlawn, Maryland, and I have served in this role since

       November 17, 2024. I am a Career Senior Executive reporting directly to SSA’s Acting

       Commissioner, Leland Dudek.

   2. In my role as Deputy Commissioner of Human Resources, I am responsible for leading

       and overseeing human resource services to the agency, including but not limited to

       appointing and onboarding new personnel, including regular and special government

       employees and detailees.

   3. I provide this declaration in support of the Defendants’ opposition to the Motion for a

       Temporary Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay in the

       above-captioned case. This declaration outlines how each individual associated with

       SSA’s DOGE team has been onboarded with SSA. These statements are made with my




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   personal knowledge and review of documents and information furnished to me in the

   course of my official duties.

4. Pursuant to Executive Order 14,158 (“Establishing and Implementing the President’s

   ‘Department of Government Efficiency’”), there exists within SSA a “DOGE team”

   responsible for “implementing the President’s DOGE agenda.” Id. § 3(c). The SSA

   DOGE Team currently consists of ten SSA employees: four SSA special government

   employees (Employees 1, 4, 6, and 9) and six detailees to SSA from other government

   agencies and offices (Employees 2, 3, 5, 7, 8, and 10). To protect the privacy of these

   individuals, and to avoid exposing them to threats and harassment, I have not listed their

   names in this declaration.

5. On February 13, 2025, Employee 1, a software engineer, was appointed as an expert,

   special government employee under 5 U.S.C. § 3109 and 5 C.F.R. Part 304. 42 U.S.C. §

   904(a)(2) further supports his appointment and states that the Commissioner of Social

   Security “may procure services of experts and consultants in accordance with the

   provisions of section 3109 of title 5.” His duties currently relate to improper payments

   and SSA’s Death Master File (records maintained by SSA on deceased individuals). SSA

   is currently working with the Small Business Administration (SBA) to effectuate an

   interagency agreement for Employee 1 to be detailed temporarily to SBA.

6. On February 18, 2025, we began onboarding and training Employee 3, a Schedule C

   Policy Advisor, detailed from the Department of Labor to SSA. The agreement finalizing

   his onboarding is dated February 22, 2025. His duties currently relate to improper

   payments and SSA’s Death Master File (containing information about decedents from

   SSA records).



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7. On February 18, 2025, we began onboarding and training Employee 5, an engineer,

   detailed from the United States DOGE Service to SSA. The agreement finalizing his

   onboarding is an Interagency Agreement with U.S. Digital Service (now U.S. DOGE

   Service) covering Fiscal Year 2025, which was amended February 20, 2025 to recognize

   the change to U.S. DOGE Service; extend the duration to July 4, 2026; and modify and

   supplement certain terms in the original agreement. The agreement authorizes work to

   include, but does not limit work to, increasing efficiency and the modernization of SSA

   IT infrastructure and systems, detecting waste, fraud, and abuse.

8. On February 18, 2025, we began onboarding and training Employee 2, Senior Advisor

   (Program Specialist AD-0301-00). He is in the process of being detailed from National

   Aeronautics and Space Administration (NASA) to SSA. The agency is waiting on final

   signature on the interagency detail agreement from NASA. His duties currently include

   serving as the DOGE lead at SSA.

9. On February 19, 2025, Employee 10, a software engineer, was detailed from the Office of

   the Administrator at the General Services Administration to SSA. His duties currently

   include supporting the leadership team with the assessment and enhancement of internal

   processes and operational procedures, specifically, focusing on identifying inefficiencies

   and areas for improvement and ensuring that the administrative and programmatic

   functions align with the best practices for effectiveness and accountability.

10. On February 26, 2025, Employee 8, an engineer, was detailed from Office of Personnel

   Management to SSA. His duties currently relate to improper payments and death data.

11. On February 27, 2025, Employees 4, 6, and 9 were each appointed as an expert, special

   government employee under 5 U.S.C. § 3109 and 5 C.F.R. Part 304. 42 U.S.C. §



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   904(a)(2) further supports their appointment and states that the Commissioner of Social

   Security “may procure services of experts and consultants in accordance with the

   provisions of section 3109 of title 5.” All three of these individuals’ duties currently

   relate to improper payments and death data.

12. On March 5, 2025, the agency began onboarding Employee 7, as a detailee from

   Department of Labor (DOL) to SSA. The agency is waiting on final signatures on the

   interagency detail agreement from DOL. His duties currently relate to improper

   payments.

13. Each of the special government employees and detailees listed above completed the

   following training and onboarding actions, in addition to any component specific

   training:

       a. Attended Privacy Training (either in-person or via MS Teams), which covered

           privacy laws applicable to agency data and penalties for improper use

       b. Attended Ethics Training (either in-person or via MS Teams), which covered

           ethics laws applicable to agency employees.

       c. Signed Acknowledgement of SSA Information Security and Privacy Awareness

           Training, which covers requirements for compliance with information security

           and privacy policies of SSA.

14. Each of the detailee agreements contained terms clarifying that detailee must not make

   unauthorized disclosures of SSA information and that detailee must follow SSA rules and

   policies while working for SSA.




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   15. For employees 3, 5, 8 and 10, the Executive Office of the President informed SSA that

       these individuals had favorable background investigations adjudicated. For the

       remaining employees, background investigations are still pending.

   16. Under the U.S. DOGE Service interagency agreement described above (formerly with

       U.S. Digital Service), there are five additional individuals who have been onboarded.

       These include individuals onboarded in 2024, prior to creation of the U.S. DOGE

       Service. However, the agency has determined it does not need their services and is

       taking action to remove them from this agreement.

   17. My office has worked to expedite onboarding of the above individuals and is working to

       ensure all onboarding requirements are met.



I declare the foregoing to be true and correct, upon penalty of perjury.




Date: March 12, 2025                  Signed: Florence Felix-Lawson /s/


                                      Florence Felix-Lawson
                                      Deputy Commissioner
                                      Human Resources
                                      Social Security Administration




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